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 TINITED STATES DISTRICT COT]RT
 SOUTI{ERN DISTRICT OF NEW YORK


  }r re Terrorist Attacks on September                      03 MDL 1570 (cBD) (sN)
                                                            ECF Case


 t hi,s dootmenl relates to:


                Kathleen AshtorL et al. y. Al Qaeda l.slamic Army, et al., Case No. 02 Ch,. 6977
                'l'homas Burnel, Sr., et al. y. Al
                                                   Baraka Int,. & Dev. (-orp., et al., No. 03 Ciy.
                9849
                Federol Insura ce Co., et al. v. Al Qaida, et al., No. 03 Civ. 697g
                Conlinenlal Cqstalty Co., et al. v. Al Qaeda, et al., No. 04 Civ. 5970
                Euro Brokers Inc., et ol., v. Al Baraka, el al., No. 0l Civ. 7279
                llstate oJ John P. O'Neill et. al., v. Al Boraka et. al., No. 0l Ch,. l923
                Ll/orld Trade Cenler Propertie.s, l,.L.C. et al. t,. Al Baraka Inveslment and
                Detelopment C<trp., et al., No. 0l Civ. 7280i


                DECLARATION OF PETER C. SALERNO IN OPPOSITION
                      TO PLAINTIFFS'MOTION TO COMPEL
                       AGAINST YASSIN ABDULLAII KADI

                Peter C. Salemo declares that the fbllowing statemenr is rrue:

                l.      I am a principal in the law firm ofSalerno & Rothstein, counsel to

defendant Yassin Abdullah Kadi ("Mr. Kadi") in this multi-district litigation and the individual


cases listed above. I am a member in good standing ofthe Bar ofthe State ofNew york and of


this Court. I make this declaration to correct material misstatements and omissions in Plaintiffs'

motion to compel dated December 1,2017, and to supply information and documents necessary



' In their motion, Plaintiffs do not include the llorld'l'rade Center Properties case as one to
which the motion relates. Mr. Kadi is a party to that case. Conversely, plaintiffs identify the
Conlor Fitzgerald & Co. case (actually titled Cantor Fitzgerald A.ssociales, Z.p. ) as one to
which the motion relates, but Mr. Kadi is not identified on rhis Court's docket sheet (04-cv-
07065) as a defendant in that case.
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 to the Court's fair consideration ofthat motion. This declaration, the accompanying declarations


 of Guy Martin and Mr. Kadi, the accompanying memorandum of law, and the exhibits filed

 therewith will demonstrate that Mr. Kadi has made a more than good faith effort to meet his

 discovery obligations in this case; that Plaintiffs' motion is not substantially justified; and that

 attorneys' fees should be awarded to Mr. Kadi pursuant to Fed. R. Civ. P. 37(a)(5).


                          Plaintiffs' Requests. Mr- Kadi's Responses. and
                          the Parties' Communications Relatine Thereto

                 2.      The first two pages of Plaintiffs' Memorandum of Law ("MOL") in

support oftheir motion do not completely describe the dealings between the parties with respect

to Mr. Kadi's document production. As a result the memorandum is materially misleading. This


section of this declaration witl clarify the record.


                 3.     The first sentence of Plaintiffs'MOL incorrectly describes the chronology

ofthe discovery requests leading up to this motion. Mr. Kadi did not respond, on September 30,

2013 or any other time, to discovery requests allegedly served on August l, 20082 because his

motion to dismiss was.rzD judice at that time.3 That motion was granted on September 13, 2010


(740F Supp.2d 494).1 After the Second Circuit's remand on April 16,2013 of the claims

against Mr. Kadi for jurisdictional discovery,714F.3d 659, Plaintiffs served their "First Set of




2
 We have been unable to find any record ofsuch a document request. Plaintiffs' assertion in
their Memorandum ofLaw that it exists is supponed by neither a declaration nor a copy ofthe
request.
3
    The motion was filed on February 3, 2006 (ECF Nos. 1658, 1659, and 1660).
I Final judgment pursuant to Fed. R. Civ. P. 54(b) was
                                                           entered July 14,201t. (ECF No. 2a 6)

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Jurisdictional Requests for Production of Documents" directed to Mr. Kadi on August 22,2013 .

(A copy of this document request is filed herewith as Exhibit A.)

                 4.     As can be seen, this document request contains 1l I separately numbered

paragraphs. Three pairs ofthose requests (numbers 97 through 102) ref'er to three attachments


which contain a total of I l6 names ofindividuals and organizations, in effect multiplying the

number of requests to 337.


                 5.    Mr. Kadi served an initial formal response to this document request on

November 11,2013, together with an initial production. (A copy ofthat response is filed


herewith as Exhibit B.) That response included a number ofobjections that particular requests

were beyond the scope ofthe Second Circurt's remand, were overbroad, and were not reasonably

calculated to lead to the discovery of admissible evidence regarding personal jurisdiction. Then


and thereafter, through December 2014, Mr. Kadi made five document productions, totaling


t04,302 pages.


                 6.    As Plaintiffs correctly state, Mr. Kadi made a production on December 15,

2014 (a deadline that had been set by Magistrate Judge Maas), and in a letter ofthat date I

identified that production as our "fifth and final" one. (Plaintiffs' Ex. l).

                 7.    Plaintiffs omit to mention, however, that in their Exhibit I I also stated,

"ln a few days we will send you our privilege log as welI as well as a list ofyour requests as to

which we have withheld documents on the basis ofour non-privilege based objections to those

requests, as required by Judge Maas's direction at the December 20.2013 conference (Transcript

at 3l)." Thus, contrary to Plaintiffs' assertion at p. 2 of their MOL, Mr. Kadi did zol, through his



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counsel, state that "he had given us everything he had, minus privileged material." We explicitly


stated that documents were being withheld pursuant to non-privilege-based objections.


               8.      On December 19,2014I sent Plaintiffs' counsel a letter listing the

requests as to which we had withheld documents pursuant to non-privilege-based objections. (A


copy of this letter is filed herewith as Exhibit C,)


               9.      Ptaintifli also mislead the court by stating that Mr. Kadi's post-2014

produaion occurred "with prodding." The only "prodding" was Plaintiffs' "deficiency" letter to


us dated May 6, 2015 (Plaintiffs' MOL Ex. 2), as well as a second set of document requests of


that date that effectively contained 59 items, though some were duplicative ofthe first set of

requests (copy filed herewith as Exhibit D).5 In response to Plaintiffs' May 6, 2015 letter and


second set ofdocument requests, in an effort to minimize discovery disputes and in the hope of

avoiding discovery litigation altogether, Mr. Kadi and his counsel determined to make a more

fulsome production that would not invoke arry objection, other than privilege (and two other

minor bases that Plaintiffs do not challenge), to both Plaintiffs' flrst and second sets ofdocument

requests.6 (S'ee my email to Plaintiffs' counsel dated June 10, 2015 (copy filed herewith as


Exhibit E)).




5In combination with the effective 337 requests in Plaintiffs' first set ofdocument requests, the
total number ofdocument requests propounded by Plaintiffs and to which Mr. Kadi has
responded is 396.
6
  We did this even though the second set ofrequests was untimely as being more than 20 months
after the August 2013 deadline set by Judge Maas. (S'ee letter endorsed August 15, 2013, ECF
No. 2770).
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                 10. By letter dated August 7, 2015, we responded in detail to plaintiffs,May
 6, 20l5letter. (Copy filed herewith as Exhibit F).

                 11. Between mid-2015 and March 2017, Kadi's def'ense team reviewed
 documents previously objected to, as well as made another extensive search ofthe client's files

 for additional responsive documents. (Sec Declaration of Guy Frederick Noel Martin ("Martin

 Dec.") fl 8).

                 12. By early April 2017 we had completed Mr. Kadi's document production.
By email dated April 18,2017,I informed Plaintiffs' counsel that "we are not withholding any

documents pursuant to any objection to either your first or second requests on any ground other

than privilege or work product protection. we have attempted to produce every document in our


client's possession, custody or control that is responsive to your requests." (A copy ofthis email

is filed herewith as Exhibit G).


                 13. By letter dated Aprrl27,2017 we informed Plaintiffs' counsel in more
detail ofour position regarding the completeness ofour production, and made clear that

                 "We believe we have produced every document in our client's possession,
                 custody, or control that is responsive to your first ard second sets ofdocument
                 requests, including the bank account lists attached to your first and second sets,
                 subject to the comments in the previous paragraph [privilege, two other bases for
                 withholding a small quantity oldocuments, and the temporal limitations set by the
                 Courtl."

April27 ,2017 Lett at 2(copyfiled herewith as Exhibit H).7

                                      '1992
' Temporal discovery boundaries of       through 2004 were established for this case. S'ee Judge
Daniels's order dated December 2l , 2007 (ECF No 2059) (setting start date of 1992 wirh
respect to defendants MWL, IIRO. and Jelaidan; Mr. Kadi's motion to dismiss was pending at
the time of that order); Transcript of conference before Magistrate Judge Maas March 22,2016
(ECF No.3253)at l4 (statement ofSean Carter, one ofPlaintiffs' counsel: ".. the period that's
been determined by the Court to be the outside limit of discovery which is 2004.")

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                14.     Also on April 27,2011 we served on Plaintiffs' counsel a formal

supplemental response to their first document request, and a fbrmal response to their second

document request. (Copies ofthese documents are flrled herewith as Exhibits I and J,


respectively). ln both these responses Kadi's counsel certified that we had produced every

responsive document in our client's possession, custody, or control, notwithstanding any

objections to any request (but subject to the qualifications set forth in the indented quote above).

                15. On July20,20l7, Andrew Maloney, one ofPlaintiffs' counsel, sent us a
letter purporting to identify gaps in Mr. Kadi's production. This letter in many cases repeated


complaints in his May 6, 2015 letter. We responded on July 26, 2017. (Copies of these July 2017


letters are filed herewith as Exhibits K and L, respectively.) ln that response I reiterated that we

had not knowingly withheld any non-privileged responsive document; I explained that the age of

the documents explained their unavailability; and I provided specific responses, with citations to

documents, to some of Plaintiffs' specific complaints.


                                  The "Meet-and-Confer" Process

                16. Plaintiffs attempted no meaningful meet-and-confer with respect to the
challenges to Mr. Kadi's privilege claims. Prior to making this motion, they never identified as


questionable any ofthe documents they now challenge. (MOL at l6-17).


                17. The chronology ol communications on the topic is this: In their May 6,
201 5 letter they complained generally about redactions, asked fbr a log, and cited three


documents as to which they wanted the rationale for the redactions. (Plaintiffs' Ex. 2 at 12). We




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answered their questions in our August 7,2015 letter (Ex. F at 7), and those documents are not


discussed in their motion to compel.

                18. Plaintiffs' only "dehciency" letter after document production was
completed was their July 20,2017 letter. (Ex. K). That letter makes lo mention of privilege.


Plaintiffs' discovery status letter to the Court dated August 31,2017 (ECF No. 3713) said the

following: "Plaintiffs takes [slc] issue with the over broad privilege log objections Kadi has

served.. . . Plaintiffs anticipate a motion to compel will be necessary to address . . . several


documents listed on the privilege log." (Copy filed herewith as Exhibit M, at 9, l0). These are


the only mentions in that letter of complainrs about Mr. Kadi's assertions of privilege. The day


after that letter, I wrote Plaintiffs' counsel asking. "What are your issues regarding our privilege

log? (Letter, p. 9, l0). Your August 3l status reporl is the first we have heard that you have any


concerns regarding it." (Slee copy ofthis letter, frled herewith as Exhibit N, at 1).


                19. In an email on September 6, 2017 , in response to my September I letter,
Mr. Maloney articulated Plaintiffs' concerns about privilege solely with a short general discourse

on the nature ofthe work product protection. No specific documents were identified, and no


reference was made to attorney-client privilege or waiver issues due to disclosure to third parties.


(Copy of this email filed herewith as Exhibit O).8 By contrast, in their motion Plaintifls make no




8
   Mr. Maloney also stated in this email Plaintiffs' belief that work-product created for unrelated
litigation would not be protected in the instant litigation. That is not the law. (s'ee Mr. Kadi,s
Memorandum of Law at 14 n.l7).

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reference whatever to work product documents, but only to attorney-client privilege and alleged

waiver. (MOL at l4-16).

               20.     I responded by letter to Mr. Maloney's September 6 email the same day,

pointing out that his discourse on work-product protection was applicable only to documents not

also identified as attorney-client privileged, as only in such a case would their argument, if

correct, lead to disclosure ofthe document. I pointed out that there were five such documents.

(See copy of this letter, filed herewith as Exhibit P,at2).e


               21. Plaintiffs' and Mr. Kadi's counsel chatted briefly in court during our
attendance at the conference before this Coun on September 7,2017. On the record at that


conference, Mr. Maloney (misspelled "Mahoney" in the transcript) stated, "[T]here was an


extensive privilege log that was grven to us that I want to discuss with Mr. Salerno in the next


week ortwo to see whether or not we will make a motion regarding some of the documents he

has identified there." (Tr. at 15). (A copy ofrelevant pages ofthis transcript is filed herewith as


Exhibit R).


               22. On September 20, in an email in which Mr. Maloney sought our consent
to an extension of Plaintiffs' time to file a motion to compel from the then-established October

l3 deadline to December I (both our consent and the extension were granted), Mr. Maloney

stated that Plaintiffs had "lots of work to do to review the Kadi production regarding gaps and




'On September l6 I sent an email to Mr. Maloney stating that the correct number of documents
as to which only work-product protection was invoked was seven. (Copy filed herewith as
Exhibit Q). There are now five additional documents in this category: Items 1l and l4-17 in our
privilege log, which were questioned by Plaintiffs. (MOL at l5; see Martin Dec. fl 26; Kadi
MOL at 14-15)
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 the privilege log.... [W]e would prefer to finish a thorough review and confer with you on all


 issues by Nov." (Copy filed herewith as Exhibit S). ln a further email on September 29, ZOl7


 email Mr. Maloney wrote, "We will plan to meet and confer some more with you before Dec. t,


 hopefully in early to mid-November." (Copy {iled herewith as Exhibit T). Similarly, in a letter to

 the Court filed on September 29,2017 requesting the extension of time to file this motion, Mr.

 Maloney stated, "We have had several meet and confer exchanges and anticipate more to follow

 in November." (ECF No. 3730; copy filed herewith as Exhibit U).


                23. Despite Mr. Maloney's statements on September 7 in court and September
 20 and 29 in writing, Ptaintiffs never contacted us further about privilege concems (or any other

 discovery concerns) until the filing ofthe instant motion on December l.

                24. Thus, we were never given an opportunity to address the privilege
 concerns Plaintiffs particularized for the first time in their motion. Given that the three privilege


 issues Plaintiffs raised in their May 6, 2015 letter (to which we responded in August 2015) were

 not raised in their motion to compel, it is certainly possible that that the explanations we now

 offer would have obviated at least some ofthe privilege issues they now raise.

                25. To summarize: Mr. Kadi and his defense team have made every
reasonable effort to produce every document that is responsive to any of Plaintiffs' 396 document

requests, other than documents protected by privilege and two other uncontested categories of

documents described in Plaintiffs' Exhibit 1. As the Martin and Kadi Declarations make clear,


Mr. Kadi's London counsel, Guy Martin, was given unfettered access to the client's files for the




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purpose ofresponding to Plaintiffs' requests. (Martin Dec. fl 9; Declaration of yassin Abdullah


Kadi dated January I 0, 2018 at fl 4).

                                           Factua[ Background

                 26. Plaintiffs make much of the fact that within a month of September 11,
2001 Mr. Kadi was listed by the U.S. Offrce of Foreign Assets Control as a,.Specially


Designated Global rerrorist" ('SDGT") (See Plaintiffs' MoL at 2). For completeness, they ought


to have informed the court that Mr. Kadi was de-listed as an SDGT on November 26,2014. jg


Fed. Reg. 72248 (a copy ofthis page of the l|'ederal Regisrzr is annexed hereto as Exhibit v).    If
the listing is thought to have any significance, the de-listing should bear equal significance.


                 27. Similarly, Plaintiffs refer to other governmental activities directed at Mr.
Kadi, such as the Swiss investigation by Claude Nicati, the "suspicions" of the U.K. Treasury

Department, the United Nations listing etc. (See Plaintiffs' MoL at 3). once agai,, completeness

would dictate making the Court auare of the follorving:

                 a. After six years of investigation, the Swiss government filed no charges
                     whatsoever against Mr. Kadi;


                 b Atl jurisdictions that had "listed" Mr. Kadi, including the U.K., the E.U., and
                     the U.N. (as well as the United States) have de-listed him.

(,See Martin Dec. fl 3 and Exs. W, X, and Y).


                 28. Wherefore, I respectfully request that plaintiffs' motion to compel dated
December 1,2017 be denied, and that defendant Kadi be awarded all his expenses, including

attorneys' fees, incurred in responding to this motion, pursuant to Fed. R. Civ. p 37(a)(5)(B).


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              I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 19, 201 8
                                                        ,4"
                                                        L4
                                                        tow C. )^!^*,-
                                                      PETER C- SALERNO




                                              -l l-
